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                                  United States District Court
                                  Western District of Kentucky
                                         at Louisville

UNITED STATES OF AMERICA                                                                       PLAINTIFF

VS.                                                        CRIMINAL ACTION NUMBER: 3:25-MJ-337

CHARLES O’LOAN                                                                              DEFENDANT

                                                  ORDER

         The above-styled case came before the Honorable Regina S. Edwards, United States Magistrate
Judge on June 5, 2025 to conduct a combined preliminary and detention hearing.
         APPEARANCES
         For the United States:       Danielle Yannelli, Assistant United States Attorney

         For the defendant:           Defendant Charles O’Loan - Present and in custody
                                      Scott T. Wendelsdorf, Federal Defender – Present

         Court Reporter:              Digitally recorded

         The defendant, through counsel, having waived his right to a preliminary hearing on the record,
         IT IS HEREBY ORDERED that should the Grand Jury return a true bill, this matter is scheduled
for arraignment proceedings on June 20, 2025 at 2:00 p.m. via video conference before the Honorable
Regina S. Edwards, United States Magistrate Judge.
         The Court having heard arguments from counsel as to the matter of detention and for the reasons
fully stated on the record,
         IT IS FURTHER ORDERED that the defendant is detained and remanded to the custody of the
United States Marshal pending further order of the Court.
         This 5th day of June, 2025
                                              ENTERED BY ORDER OF THE COURT:
                                              REGINA S. EDWARDS
                                              UNITED STATES MAGISTRATE JUDGE
                                              JAMES J. VILT, JR., CLERK
                                              BY: /s/ Ashley Henry - Deputy Clerk
Copies: U.S. Attorney
        U.S. Probation
        U.S. Marshal
        Counsel for Defendant

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